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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLORADO

Civil Action No. 1:25-cv-00425 STV


TINA M. PETERS,
          Applicant,

            v.

JOHN FEYEN, in his official capacity
    as Sheriff of Larimer County, Colorado,
          Respondent,

      and

PHILIP J. WEISER, in his official capacity
    as Attorney General of the State of Colorado,
           Additional Respondent.

__________________________________________________________________
                      DECLARATION OF LINDA GOOD



   1. I, Linda Good, declare under penalty of perjury under the laws of Colorado

      that the following is true and correct:

   2. I am a certified paralegal and the owner of A Good Paralegal, PLLC. I have

      been under contract with attorney John Case, P.C., since October 4, 2024. I

      have been contracted to make professional visits with his client, Ms. Peters,




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      while she is incarcerated, to review legal documents and facilitate

      communications.

   3. By making this declaration, neither I nor the client, Tina Peters, is waiving

      attorney-client privilege. I have redacted the names of individuals from the

      copy of this Declaration I am submitting to the Court in order to protect their

      privacy.

   4. I have known Ms. Peters since working with her legal team on the lawsuit

      for the recount of the 2022 Primary Election, in which she was running for

      Secretary of State.

   5. While Ms. Peters was housed in the Mesa County Detention Facility in

      Grand Junction, I made daily professional visits with her. Since her transfer

      to the Larimer County Jail, I have visited Ms. Peters three times a week.

   6. The following is a summary of my observations of the treatment Ms. Peters

      has received and her rapid health decline while in the custody of the Mesa

      County Detention Facility and the Larimer County Jail over the past 4

      months.

   7. In early January at the Larimer County Jail Ms. Peters was moved to 1 King,

      which is known as the Princess Pod. She did not do well there, as the

      constant activity throughout the night deprived her of sleep, exacerbating the

      dizziness and headaches she has been suffering at the Larimer County Jail.

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      Her request to be returned to the 2IDA pod was originally granted; however,

      on February 18th, she was asked again to move to the “incentive” Princess

      Pod. When she said, “No, thank you,” and explained the health reasons that

      made the move a problem for her, she was threatened with a 5-day lockdown

      and was written up for obstructing governmental operations.

   8. Ms. Peters has been restricted as a “bottom tier” inmate to prevent her from

      traversing the metal stairs and climbing onto the top bunk without a ladder

      due to her age and declining health. She has been moved from cell to cell at

      least 8 times, which is causing her anxiety to grow.

   9. Most recently, on February 19, 2025, while I was with Ms. Peters reviewing

      some documents, 8 guards descended upon her pod wearing black latex

      gloves. Ms. Peters said, “This isn’t going to be good. They are going to raid

      someone.” A deputy knocked on the conference room door and told me that

      we needed to end our visit. I asked if I could wait in the lobby and come

      back up, as we hadn’t finished our work. I was told that it would be a while

      and that I should come back in the morning. Then they proceeded to raid the

      pod, including Ms. Peters’ cell. Ms. Peters has no contraband. They removed

      Ms. Peters from the pod in handcuffs and brought her down to booking,

      where she had to undergo the indignity of a strip search. They found

      nothing, nor did they the first two times they strip-searched a 69-year-old,
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      non-violent, first-time offender with no history of drugs. No other inmate

      was brought out in handcuffs or strip-searched during this raid on the pod.

   10.I find the timing of these two incidents at the Larimer County Jail more than

      coincidental as the Court sent out notice February 11, 2025 of the Writ of

      Habeas Corpus she had filed. She had no conflicts or incidents with any of

      the guards prior to the filing, and then twice in one week, she is written up,

      threatened with lockdown, raided, and strip-searched.

   11.When I arrived in Grand Junction and made my first visit on October 7,

      2024, at the Mesa County Detention Facility (Mesa Jail), Ms. Peters was still

      in booking. She spent over 5 days waiting to be assigned housing while

      watching as other inmates arrived and were assigned, yet she remained in the

      overcrowded room, sleeping on the floor without access to a toothbrush,

      hairbrush, socks, etc. She was told she was on a Mental Hold and a

      Programs Hold, which had not been seen in over 5 years. This was the

      beginning of a long chain of events that appear to have targeted Ms. Peters

      for harsh treatment by the Mesa County deputies.

   12.On October 13, 2024, Ms. Peters was a bit upset today. She is feeling

      targeted by having to undergo daily mental health evaluations, often during

      her free time. They want her to take an anxiety medication called Buspirone.

      She doesn’t want this unnecessary medication. She is currently taking
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      Citalopram, which she was taking previously. She has added aspirin, as her

      chronic pain is reemerging after a week of being off her therapeutic mattress.

      She has also added melatonin to help her sleep.

   13.On October 13, 2024, Ms. Peters had a few situations arise today out of her

      “notoriety.” I asked Deputy        , the on-duty guard at the Aspen pod, if he

      had noticed anything, and he relayed the same story about an inmate in

      section 2 next door screaming down to her: “Tina Peters! You are the reason

      we are all in here.” He said he was not worried, as that inmate is mentally

      unstable, meaning this was not out of the norm for her behavior. He

      acknowledged that Ms. Peters is a known person among the inmates and

      guards.

   14.On October 13, 2024, Ms. Peters was also asked for her autograph by a

      different inmate, which she refused. Then the woman brought her an

      envelope with a written request for her autograph in it.

   15.On October 13, 2024, another concerning event happened today. Ms. Peters

      had a note slipped under her door from inmate                  who told her

      that a public defender,                was asking               attorney

      about information regarding Ms. Peters during a meeting she had on October

      8th at approximately 9 a.m. in Room 12 of the Public Defender’s Office at

      the Mesa County Detention Facility. This is concerning, as it appears the

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      public defenders are trying to find incoming inmates to monitor Ms. Peters

      while inside.

   16.On October 16, 2024, a nurse named            came in this morning

      approximately between 11:30 a.m. and 12:00 p.m. and told Ms. Peters she

      had to submit to a Tuberculosis (TB) test or she would be quarantined in

      “the shoe,” solitary confinement, until an X-ray could be ordered, which

      could take months. She has no symptoms. No other inmates have been asked

      to take the test. She was the only inmate being told she had to take the test.

      After my visit with Ms. Peters at approximately 3 p.m., I asked Deputy

                why Ms. Peters was being singled out and threatened with

      quarantine when she is clearly not ill. I asked to have the policy on this

      testing provided to myself and Ms. Peters and to please not take any further

      action until we could review the policy. At 4 p.m., Ms. Peters had a visit

      from the medical team                       ). They brought with them the

      Health Care Policy on the TB test. The policy does not require the skin test.

      There are two other options that were not offered to her on the first visit

      when they threatened quarantine. She answered questions for about 10

      minutes to determine that, yes, indeed, she does not have any TB symptoms.

   17.Ms. Peters had another two inmates tell her that the heavyset guard from this

      morning has been asking about her. First, her roommate,             was asked

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      if they were friends and if she knew her before, because they came into the

      pod together.        l told him they met in booking. He said, “Well, you’re

      good friends, right?” She said, “Why, do you like her?” He recoiled and said,

      “No. No, I don’t.” Another inmate said that the same guard was asking her if

      she was hearing about someone being targeted. She said, “No.”

   18.October 24, 2024 I spent an hour or so with Ms. Peters. She was anxious

      and tired today. She has a new roommate and a new "job". She has been

      assigned as the “Pod Keeper” which is the house keeper for her cell block

      area.

   19.October 30, 2024 Ms. Peters is getting worn down. Sunday afternoon the

      woman who was removed as the other Pod Worker lost it when Ms. Peters

      approached her to try and make things right. The woman screamed foul

      language at Ms. Peters and the young deputy on duty did nothing to stop the

      situation. Every day there is an incident that keeps the stress level raised.

   20.November 25, 2024 Ms. Peters is having a rough day. She got fired from

      her Pod Worker job and was on lockdown in her cell from 9pm until

      12:30pm the next day for lunch. She accidentally burned some sliced

      potatoes in the microwave which she is being punished for.




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      Potato photos: 11/27/2024 The Potatoes Ms. Peters “burned” in Microwave

      that got her fired from her Podworker job. 11/25/2024 The potatoes served

      for dinner on 11/25

   21.November 26, 2024 Ms. Peters was made to move to a different cell where

      she is forced to sleep on the top bunk 2 ft away from

      an industrial fluorescent light that never gets turned off. She has no ladder to

      access the top bunk. The woman next to her cell is a schizophrenic who

      screams nonstop. This is definitely a downgrade for her.




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   22.November 27, 2024 An inmate named           l spoke to Deputy              and

      revealed that another inmate had bragged to her about adding time to the

      microwave to burn Ms. Peters’ potatoes while Ms. Peters was stacking

      chairs. Ms. Peters has asked Deputy            to review the video to clear

      the situation up.

   23.On November 29, 2024, Ms. Peters was agitated this afternoon. Deputy

                mentioned “negatives with other deputies” in Ms. Peters’ file,




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      which has made her concerned about getting her record set straight to

      prevent any chance that they won’t let her off for good behavior.

   24.On December 2, 2024, Ms. Peters was shoulder-checked while descending

      the stairs in the pod by another inmate. The inmate sneered and said, “Watch

      it, bitch,” afterward. Tina was concerned about this physical contact, which

      could have caused her to fall more than halfway down the metal staircase.

      She went straight to the guard’s desk, told them about the incident, and

      asked that they review the video and address the situation for her protection.

      After receiving some documents and video footage from a records request,

      we discovered that the deputy she reported the incident to did not review the

      videos, nor did he make an entry into the Inmate Activity Log.

   25.It appears to me that when Deputy                  did not address the incident

      with the microwave, it emboldened certain “mean girl” inmates to go after

      Ms. Peters. When the shoulder-check incident went unaddressed, things

      escalated further, and Ms. Peters has taken to spending much more time in

      her cell to avoid conflict.

   26.On December 3, 2024, Sgt.               and Sgt.           met with Ms. Peters.

      They told to her that they were changing the start date of her county jail

      sentence from October 3rd, 2024, when she was taken into custody and


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      started serving her sentence, to December 3rd, 2024. This effectively added

      60 days to her county jail sentence. I find it more than a coincidence that on

      December 2nd she complained about being shoulder checked by another

      inmate and asked deputies to review the video and one day later 60 days was

      added to her county jail sentence.

   27.On December 9, 2024, Ms. Peters is struggling with the court’s denial of the

      Petition for Bond. She feels targeted by the guards at the county jail, as the

      local community is certainly biased against her.

   28.I have also experienced the negative bias among the guards at the Mesa Jail.

      It was clear to me that they all became aware of who my client was. At first,

      when I would visit, Ms. Peters was brought straight out to the conference

      room within 5 minutes. More recently, I have been left waiting for 20

      minutes and up to 40 minutes for Ms. Peters. When I approach Master

      Control to ask if she has been notified that I am waiting, they act irritated

      with me for asking and tell me yes. I watch them call back to the Aspen pod,

      and she arrives within minutes. When I ask Ms. Peters if she had been called

      or was on lockdown, she says no, that she had only just been called.

   29.On December 16, 2024, at 10:45 a.m., Ms. Peters was brought to the front of

      the jail, shackled, and taken to an office up front. There, she was interviewed


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      for an hour by Sgt.                     and Investigator

                 @mesacounty.us). This Gateway Pundit article is what instigated

      the interview: https://www.thegatewaypundit.com/2024/12/Ms. Peters-

      peters-exclusive-im-letting-you-know-that/

            “Ms. Peters wants you to know she didn’t kill herself.
            In her latest text to me via the jail messaging app, Peters wrote: “I’m
            letting you know if I die here, it wasn’t by my own hand. I’m not
            depressed and would never hurt myself or anyone else….Let the
            people know the truth. They can silence me, but they can’t silence the
            truth. Things are getting more intense.”
      They asked if she felt unsafe, and she responded that she was as concerned

      with her treatment by the deputies as she was by the inmates. For an hour,

      Ms. Peters told them about how she has been singled out from the

      beginning—how she has asked them to review the video that shows she was

      framed for “Potatogate” and assaulted on the stairs when an inmate

      shoulder-checked her. They asked if the deputies ever got back to her, and

      she said no. Now she is having to pay to request the video because the

      deputies did not review it themselves to resolve the issues. She told her

      story, including the latest threat by the Satan-worshipping murderer in the

      cell next to her, made on Friday evening.                    told her, “I’ll make

      sure when you get to DOC, it won’t be very good for you.”




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   26.On December 18, 2024, Ms. Peters was transferred to the Larimer County

      Jail. A deputy entered her cell before 4 a.m., woke her up, and told her to

      gather her things—she was going to booking. Ms. Peters asked why and

      where she was going. She was told to just do it. About 30 minutes later, the

      deputy returned and finally explained that she was being transferred. She

      asked to call her attorneys and was told no.

   27.I applied for approval to make professional visits on December 19, 2024, but

      was not approved until January 3, 2025, leaving Ms. Peters without

      communication from her legal team for two weeks over the holidays.

   28.At both facilities, Ms. Peters is under industrial fluorescent lighting 24/7,

      which is causing her sleep deprivation.

   29.Ms. Peters’ health is in decline, as evidenced by her significant weight loss

      since her incarceration. She has lost more than 10 pounds over the past 4

      months. Ms. Peters’ daily diet consists of an apple and a packet of peanut

      butter, half a carrot, and tuna or packaged chicken that she purchases from

      the commissary, as she cannot eat the processed food she is served. She is

      served the same thing to eat every day: 10 pieces of processed white bread,

      three at breakfast, three at lunch, and three at dinner, which contains calcium

      propionate as a food preservative that her system cannot tolerate; for


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      breakfast, she gets a glob of oatmeal and an apple; at lunch, she is served a

      glob of rice with a soy protein substitute that looks like dog kibble and

      smells even worse, half a cut-up carrot or celery stick, and occasionally a

      piece of cake; for dinner, she is served the makings of a peanut butter and

      jelly sandwich.

   30.Ms. Peters’ health is in a downward spiral. As noted above, she is

      experiencing migraine headaches for the first time in her life. She is often

      dizzy and unsteady on her feet. Her skin shows random red patches around

      her eyes and nose, looks lifeless and thin, and, more recently, she is

      experiencing random bruising on her upper thighs.

   31.Her cognitive abilities are also in rapid decline. When speaking with her on

      a regular basis, as I have, it is quite noticeable that she struggles to stay on

      one subject in a conversation. She struggles to complete a sentence, trying to

      find a simple word that should be in her regular vocabulary, and she repeats

      herself regularly. This was not the case five short months ago when she

      entered the prison system. She not only conversed well, she had a regular

      podcast interviewing others and disseminating news; she was a public

      speaker, attending and speaking at events across the country.




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   32.I do not know the exact cause of her rapid decline, but I can speculate from

      my observations that it is due to sleep deprivation, malnutrition, stress, and a

      sense of hopelessness.

   33.My overall observation is that Ms. Peters is in rapid decline, physically and

      mentally, due to her imprisonment.

      I declare under the penalty of perjury that the foregoing is true and correct.


   Executed on February 21, 2025
                                              Linda Good




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